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                                                                                s oizlzjct u.s.nlsm cour
                                                                                  AT DANVILLE.VA
                                                                                        FILED
                     IN THE UNITED STATES DISTRICT COURT
                    FO R TH E W ESTERN DISTRICT OF V IR GIN IA                     JUL -2 2218
                                D AN V ILLE D IV ISIO N                          JUi21    'b '
                                                                             BY:           '
CHAM ES DAVIS BURM LL,                                                              DBP    LR

               Plaintiff,
                                                     Case N o.4:19cv00010
V.

M ARCIA P.SELLERS,ET AL,
                                                      By:Hon.Jackson L.K-     iser
              Defendants.                           SeniorU nited StatesD istrictJudge


     O n M arch 4,2019,this case w as filed before this Court. Pursuantto FederalRuleof

CivilProcedure4(m),thePlaintiffhas90daystosel'
                                             vetheDefendu ts. Thedocketofthis
caseshowsthattheClerk sentaletterwarningthePlaintiffofthisdeadlineafter70dayshad

passed and after 90 days had passed. The Plaintiff has notresponded to these letters or

otherwiseshown good cause asto why servicecould notbe effected. Asoftoday,over90

dayshave passed since the filing ofthis action and therr isno record thatthe Defendr ts

have been served. Accordingly,a11Defendants are hereby DISV ISSED from the suit

withoutprejudiceandthecaseisDISM ISSED from thedocketofthisCourt.
     Theclerk isdirected to strikethiscasefrom theactivedocketofthisCourtand to send

a certified copy ofthis Orderto Plaintiff.
                      . 4
     ENTERED thi       - day ofJuly,2019.
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                                             Se 'orU nited States D istrictJudge
